Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 1 of 31




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                         CASE NO.

  THE NORTH FACE APPAREL CORP.,
  VANS, INC.,
  TBL LICENSING LLC, and
  ICEBREAKER APPAREL, LLC,
                 Plaintiffs,
  vs.
  THE INDIVIDUALS, BUSINESS ENTITIES,
  AND UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE “A,”
              Defendants.
  _________________________________________/

                  COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

         Plaintiffs, The North Face Apparel Corp., Vans, Inc., TBL Licensing LLC, and

  Icebreaker Apparel, LLC (collectively “Plaintiffs”), 1 hereby sue Defendants, the Individuals,

  Business Entities, and Unincorporated Associations identified on Schedule “A” (collectively

  “Defendants”). Defendants are promoting, selling, offering for sale, and distributing goods

  bearing and using counterfeits and confusingly similar imitations of Plaintiffs’ respective

  trademarks within this district through various fully interactive commercial Internet websites

  operating under the domain names set forth on Schedule “A” (the “Subject Domain Names”). In

  support of their claims, Plaintiffs allege as follows:

                                   JURISDICTION AND VENUE

         1.      This is an action for damages and injunctive relief for federal trademark

  counterfeiting and infringement, false designation of origin, cybersquatting, common law unfair


  1
   The Plaintiffs, The North Face Apparel Corp., Vans, Inc., TBL Licensing LLC, and Icebreaker
  Apparel, LLC are related ultimate subsidiaries of V.F. Corporation which is a global leader in
  branded lifestyle apparel, footwear and accessories.



                                                    1
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 2 of 31




  competition, and common law trademark infringement pursuant to 15 U.S.C. §§ 1114, 1116 and

  1125(a) and 1125(d), The All Writs Act, 28 U.S.C. § 1651(a), and Florida’s common law.

  Accordingly, this Court has subject matter jurisdiction over this action pursuant to 15 U.S.C. §

  1121 and 28 U.S.C. §§ 1331 and 1338. This Court has supplemental jurisdiction pursuant to 28

  U.S.C. § 1367 over Plaintiffs’ state law claims because those claims are so related to the federal

  claims that they form part of the same case or controversy.

         2.      Defendants are subject to personal jurisdiction in this district because they direct

  business activities toward and conduct business with consumers throughout the United States,

  including within the State of Florida and this district through, at least, their fully interactive

  commercial Internet websites accessible and doing business in Florida and operating under the

  Subject Domain Names. Alternatively, based on their contacts with the United States,

  Defendants are subject to personal jurisdiction in this district pursuant to Federal Rule of Civil

  Procedure 4(k)(2) because (i) Defendants are not subject to jurisdiction in any state’s court of

  general jurisdiction; and (ii) exercising jurisdiction is consistent with the United States

  Constitution and laws.

         3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 since Defendants are,

  upon information and belief, non-resident in the United States and engaged in infringing

  activities and causing harm within this district by advertising, offering to sell, selling, and/or

  shipping infringing products into this district.

                                          THE PLAINTIFFS

         4.      Plaintiff The North Face Apparel Corp. (“The North Face”) is a company

  organized and existing under the laws of the State of Delaware, having its principal place of

  business at 3411 Silverside Road, Wilmington, DE 19810.




                                                     2
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 3 of 31




         5.      Plaintiff Vans, Inc. (“Vans”) is a company organized and existing under the laws

  of the State of Delaware, having its principal place of business at 1588 South Coast Dr, Costa

  Mesa, CA 92626.

         6.      Plaintiff TBL Licensing LLC (“TBL”) is a company organized and existing under

  the laws of the State of Delaware, having its principal place of business at 200 Domain Drive,

  Stratham, NH 03885.

         7.      Plaintiff Icebreaker Apparel, LLC (“Icebreaker”) is a company organized and

  existing under the laws of the State of Delaware, having its principal place of business at 251

  Little Falls Drive, Wilmington, DE 19808.

         8.      Goods bearing the Plaintiffs’ registered trademarks set forth below are offered for

  sale and sold by Plaintiffs and/or their licensees which are related operating companies within

  the V.F. Corporation’s family of companies, through various channels of trade within the State

  of Florida, including this district, and throughout the United States. Defendants, through the sale

  and offer to sell counterfeit and infringing versions of Plaintiffs’ branded products, are directly

  and unfairly competing with Plaintiffs’ economic interests in the United States, including the

  State of Florida, and causing Plaintiffs harm within this jurisdiction.

         9.      Like many other famous trademark owners, Plaintiffs suffer ongoing daily and

  sustained violations of their respective trademark rights at the hands of counterfeiters and

  infringers, such as Defendants herein, who wrongfully reproduce and counterfeit Plaintiffs’

  individual trademarks for the twin purposes of (i) duping and confusing the consuming public

  and (ii) earning substantial profits across their e-commerce stores. The natural and intended

  byproduct of Defendants’ combined actions is the erosion and destruction of the goodwill




                                                    3
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 4 of 31




  associated with Plaintiffs’ names and associated trademarks and the destruction of the legitimate

  market sector in which they operate.

         10.     To combat the indivisible harm caused by the concurrent actions of Defendants

  and others engaging in similar conduct, each year Plaintiffs expend significant monetary

  resources in connection with trademark enforcement efforts, including legal fees, investigative

  fees, and support mechanisms for law enforcement, such as field training guides and seminars.

  The exponential growth of counterfeiting over the Internet, including through online marketplace

  and social media platforms, has created an environment that requires companies, such as

  Plaintiffs, to expend significant resources across a wide spectrum of efforts in order to protect

  both consumers and themselves from confusion and the erosion of the goodwill embodied in

  Plaintiffs’ respective brands.

                                         THE DEFENDANTS

         11.     Defendants are individuals, business entities of unknown makeup, or

  unincorporated associations each of whom, upon information and belief, either reside and/or

  operate in foreign jurisdictions, redistribute products from the same or similar sources in those

  locations, and/or ship their goods from the same or similar sources in those locations to

  consumers as well as shipping and fulfillment centers within the United States to redistribute

  their products from those locations. Defendants have the capacity to be sued pursuant to Federal

  Rule of Civil Procedure 17(b). Defendants target their business activities toward consumers

  throughout the United States, including within this district, through the simultaneous operation

  of, at least, their fully interactive commercial Internet websites under the Subject Domain

  Names.




                                                 4
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 5 of 31




         12.     Defendants use aliases in connection with the operation of their businesses,

  including but not limited to those identified by Defendant Number on Schedule “A.”

         13.     Defendants are the past and present controlling forces behind the sale of products

  bearing and/or using counterfeits and infringements of Plaintiffs’ trademarks as described herein.

         14.     Defendants directly engage in unfair competition with Plaintiffs by advertising,

  offering for sale and selling goods each bearing and/or using counterfeits and infringements of

  one or more of Plaintiffs’ individual trademarks to consumers within the United States and this

  district through at least the fully interactive commercial Internet websites using, at least, the

  Subject Domain Names, as well as additional names, aliases, domain names, or websites not yet

  known to Plaintiffs. Defendants have purposefully directed some portion of their unlawful

  activities towards consumers in the State of Florida through the advertisement, offer to sell, sale,

  and/or shipment of counterfeit and infringing branded versions of Plaintiffs’ goods into the State.

         15.     Defendants have registered, established or purchased, and maintained their

  Subject Domain Names. Defendants may have engaged in fraudulent conduct with respect to the

  registration of the Subject Domain Names by providing false and/or misleading information

  during the registration or maintenance process related to their respective Subject Domain Names.

  Many Defendants have registered and/or maintained some of their Subject Domain Names for

  the sole purpose of engaging in unlawful counterfeiting and/or infringing activities.

         16.     Defendants will likely continue to register or acquire new aliases and domain

  names, as well as related payment accounts, for the purpose of selling and offering for sale goods

  bearing and/or using counterfeit and confusingly similar imitations of one or more of Plaintiffs’

  respective trademarks unless preliminarily and permanently enjoined.




                                                   5
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 6 of 31




         17.     Defendants’ Subject Domain Names, associated payment accounts, and any other

  alias domain or e-commerce store names used in connection with the sale of counterfeit and

  infringing goods bearing and/or using one or more of Plaintiffs’ respective trademarks are

  essential components of Defendants’ online activities and are the means by which Defendants

  further their counterfeiting and infringement scheme and cause harm to Plaintiffs. Moreover,

  Defendants are using Plaintiffs’ respective famous names and trademarks to drive Internet

  consumer traffic to their websites operating under the Subject Domain Names, thereby

  increasing the value of the Subject Domain Names and decreasing the size and value of

  Plaintiffs’ legitimate marketplace and intellectual property rights at Plaintiffs’ expense.

                             COMMON FACTUAL ALLEGATIONS

         The North Face’s Trademark Rights

         18.     The North Face is the owner of all rights, title, and interest in and to the following

  trademarks, which are valid and registered on the Principal Register of the United States Patent

  and Trademark Office (collectively, the “TNF Marks”):

                         Registration
     Trademark                             Registration Date               Class(es)/Goods
                          Number
                                                                 USC 003 - Backpacks
                                                                 USC 022 - Sleeping bags; tents,
     THE NORTH                                                   snowshoes, and skis
                           0,983,624         May 14, 1974
       FACE                                                      USC 039 - Camping clothing
                                                                 namely rainwear, parkas, vests,
                                                                 trousers, shoes, gloves and headgear
                                                                 IC 018 - Backpacks
                                                                 IC 020 - Sleeping bags
                                                                 IC 022 - Tents
                           1,030,071        January 13, 1976     IC 025 - Camping clothing, namely,
                                                                 rainwear, parkas, vests, trousers,
                                                                 shoes, gloves, headgear and
                                                                 snowshoes




                                                    6
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 7 of 31




                   Registration
     Trademark                    Registration Date             Class(es)/Goods
                    Number
                                                     IC 018 - Backpacks
                                                     IC 020 - Sleeping bags
                                                     IC 022 - Tents
                                                     IC 025 - Clothing, namely, parkas,
                     2,097,715    September 16, 1997
                                                     vests, jackets, anoraks, pants, ski
                                                     bibs, gloves, mittens, underwear,
                                                     hats, headbands, caps, ski suits,
                                                     gaiters, shorts, and shirts
                                                    IC 009 - Computer bags
                                                    IC 018 - All purpose sporting bags,
                                                    backpacks, day packs, knapsacks,
                                                    rucksacks, book bags, tote bags,
                                                    handbags, duffel bags, knap sacks
                                                    and duffel sacks, hip and lumbar
                                                    packs, shoulder bags, book bags,
                                                    waist packs, fanny packs, day
                                                    packs, shoulder bags, satchels,
                                                    mountaineering bags, Boston bags,
                                                    internal frame packs, backpack
                                                    bottle pockets, rain covers used to
                                                    cover the aforesaid; hydration
                                                    packs, namely, backpack hydration
                                                    systems consisting of a backpack, a
                                                    reservoir, and a mouthpiece
                                                    connected to the reservoir by a tube;
                     3,538,773    November 25, 2008 parts and fittings for all the
                                                    aforesaid goods
                                                    IC 020 - Sleeping bags; covers for
                                                    sleeping bags; sacks for carrying
                                                    and storing sleeping bags; non-
                                                    metal tent poles and tent stakes
                                                    IC 021 - Hydration packs, namely,
                                                    hydration system consisting of a
                                                    reservoir and a mouthpiece
                                                    connected to the reservoir by a tube
                                                    IC 022 - Tents; tent accessories,
                                                    namely, tent storage bags, rain flies,
                                                    vinyl ground cloths, tent pole
                                                    storage sacks
                                                    IC 025 - Clothing, namely, men's,
                                                    women's, and children's T-shirts,
                                                    shirts, tops, sweatshirts, sweatpants,
                                                    pants, side zip pants, shorts,



                                          7
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 8 of 31




                   Registration
     Trademark                    Registration Date             Class(es)/Goods
                    Number
                                                      trousers, vests, parkas, anoraks,
                                                      coats, jackets, wind-resistant
                                                      jackets, jacket hoods, pullovers,
                                                      sweaters, underwear, thermal
                                                      underwear, tights, gloves, mittens;
                                                      outerwear, namely, shells, one-
                                                      piece shell suits, ski wear, ski suits,
                                                      ski vests, ski jackets, ski bibs, bib
                                                      overalls, bib pants, snowboard
                                                      wear, snow pants, snow suits, rain
                                                      wear, rain jackets, rain pants,
                                                      gaiters, namely, neck gaiters; skirts,
                                                      skorts, dresses, swim trunks;
                                                      footwear, namely, athletic shoes,
                                                      sneakers, trail running shoes,
                                                      climbing shoes, hiking shoes,
                                                      slippers, boots, trekking boots,
                                                      hiking boots, snowshoes, sandals;
                                                      headgear, namely, caps, hats,
                                                      headbands, scarves, earbands,
                                                      balaclavas, visors, beanies
                                                      IC 035 - On-line retail store
                                                      services, retail store services, mail
                                                      order, catalogue and distributorship
                                                      services, all featuring camping and
                                                      outdoor gear and equipment,
                                                      hardware, clothing, sportswear,
                                                      eyewear, footwear, headgear, sports
                                                      equipment and related accessories

                                                      IC 025 - Footwear; head wear;
                     3,630,846      June 2, 2009
                                                      rainwear; scarves; ski wear

                                                      IC 025 - Footwear; gloves;
                                                      headgear, namely, hats, caps,
                                                      headbands, visors, hosiery, namely
                     3,630,850      June 2, 2009
                                                      long underwear; jackets; mittens;
                                                      pants; parkas; shirts; shorts; ski
                                                      jackets; skirts; tights; vests




                                         8
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 9 of 31




  The TNF Marks are used in conjunction with the manufacture and distribution of high-quality

  goods in the categories identified above. True and correct copies of the Certificates of

  Registration for the TNF Marks are attached hereto as Composite Exhibit “1.”

         19.       The TNF Marks have been used in interstate commerce to identify and distinguish

  high-quality goods for an extended period of time and serve as symbols of The North Face’s

  quality, reputation, and goodwill.

         20.       Further, The North Face and its related companies expend substantial resources

  developing, advertising and otherwise promoting the TNF Marks. The TNF Marks qualify as

  famous marks as that term is used in 15 U.S.C. §1125(c)(1).

         21.       The North Face and its related companies extensively use, advertise, and promote

  the TNF Marks in the United States in connection with the sale of high-quality goods. As a

  result, the TNF Marks are among the most widely recognized trademarks in the United States,

  and the trademarks have achieved secondary meaning among consumers as identifiers of high-

  quality goods.

         22.       The North Face has carefully monitored and policed the use of the TNF Marks

  and has never assigned or licensed the TNF Marks to any Defendant in this matter.

         23.       Genuine goods bearing and/or using the TNF Marks are widely legitimately

  advertised and promoted by The North Face, its related companies, authorized distributors, and

  unrelated third parties via the Internet. Visibility on the Internet, particularly via Internet search

  engines and social media platforms, is important to The North Face’s overall marketing and

  consumer education efforts. Thus, The North Face, its related companies, and authorized

  distributors expend significant monetary and other resources on Internet marketing and consumer

  education regarding its products, including search engine optimization (“SEO”), search engine




                                                    9
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 10 of 31




  marketing (“SEM”), and social media strategies. Those strategies allow The North Face, its

  related companies, and authorized distributors to educate consumers fairly and legitimately about

  the value associated with the TNF Marks and the goods sold thereunder.

         Vans’s Trademark Rights

         24.    Vans is the owner of all rights in and to the following trademarks, which are valid

  and registered on the Principal Register of the United States Patent and Trademark Office

  (collectively, the “VANS Marks”):

                         Registration
      Trademark                              Registration Date              Class(es)/Goods
                          Number


                           1,244,537             July 5, 1983        IC 025 - Shoes




        VANS               1,267,262          February 14, 1984      IC 025 - Shoes


                                                                     IC 014 - Jewelry
                                                                     IC 018 - Wallets, handbags
                                                                     and all purpose tote bags
                           1,353,939          August 13, 1985        IC 025 - Wearing apparel,
                                                                     namely, sport shirts, t-shirts,
                                                                     hats, short, jogging suits,
                                                                     socks, swimsuits and shoes
                                                                     IC 025 - Clothing and
                                                                     footwear; namely, sport
                                                                     shirts, T-shirts, hats, shorts,
        VANS               1,861,013         November 1, 1994
                                                                     jogging suits, socks and
                                                                     shoes for men, women and
                                                                     children


                           2,177,772           August 4, 1998        IC 025 - Footwear




                                                 10
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 11 of 31




                         Registration
      Trademark                              Registration Date            Class(es)/Goods
                          Number
                                                                    IC 025 – Clothing, namely,
                                                                    t-shirts, shirts, sweatshirts,
                                                                    shorts, pants, jackets;
                           2,817,392          February 24, 2004
                                                                    footwear and headgear,
                                                                    namely, caps and hats for
                                                                    men, women and children.


                                                                    IC 025 - Footwear, namely,
                           5,070,470          November 1, 2016
                                                                    twin-gore slip-on shoes



  The VANS Marks are used in conjunction with the manufacture and distribution of high-quality

  goods in the categories identified above. True and correct copies of the Certificates of

  Registration for the VANS Marks are attached hereto as Composite Exhibit “2.”

           25.   The VANS Marks have been used in interstate commerce to identify and

  distinguish high-quality goods for an extended period of time and serve as symbols of Vans’s

  quality, reputation and goodwill.

           26.   Further, Vans and its related companies expend substantial resources developing,

  advertising and otherwise promoting the VANS Marks. The VANS Marks qualify as famous

  marks as that term is used in 15 U.S.C. §1125(c)(1).

           27.   Vans and its related companies extensively use, advertise, and promote the VANS

  Marks in the United States in connection with the sale of high-quality goods. As a result, the

  VANS Marks are among the most widely recognized trademarks in the United States, and the

  trademarks have achieved secondary meaning among consumers as identifiers of high-quality

  goods.

           28.   Vans has carefully monitored and policed the use of the VANS Marks and has

  never assigned or licensed the VANS Marks to any Defendant in this matter.


                                                 11
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 12 of 31




         29.    Genuine goods bearing and/or using the VANS Marks are widely legitimately

  advertised and promoted by Vans, its related companies, and authorized distributors via the

  Internet. Visibility on the Internet, particularly via Internet search engines and social media

  platforms is important to Vans’s overall marketing and consumer education efforts. Thus, Vans

  expends significant monetary and other resources on Internet marketing and consumer education

  regarding its products, including SEO, SEM, and social media strategies. Those strategies allow

  Vans and its related companies to educate consumers fairly and legitimately about the value

  associated with the VANS Marks and the goods sold thereunder.

         TBL’s Trademark Rights

         30.    TBL is the owner of all rights in and to the following trademarks, which are valid

  and registered on the Principal Register of the United States Patent and Trademark Office

  (collectively, the “TBL Marks”):

                         Registration
      Trademark                             Registration Date             Class(es)/Goods
                          Number

                                                                    IC 025 - Footwear, namely
                          1,075,061          October 11, 1977       boots, work shoes, and
                                                                    hiking shoes

                                                                    IC 025 - Footwear; clothing,
                                                                    namely coats, jackets,
                                                                    rainwear, sweaters, shirts,
    TIMBERLAND            2,932,268           March 15, 2005        pants, shorts, headwear,
                                                                    gloves, neckwear, belts,
                                                                    sweatshirts, t-shirts, vests,
                                                                    socks




                                                12
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 13 of 31




                         Registration
      Trademark                               Registration Date           Class(es)/Goods
                          Number

                                                                    IC 025 - Footwear; clothing,
                                                                    namely coats, jackets,
                                                                    rainwear, sweaters, shirts,
                             2,947,228             May 10, 2005     pants, shorts, headwear,
                                                                    gloves, neckwear, belts,
                                                                    sweatshirts, t-shirts, vests,
                                                                    socks

  The TBL Marks are used in conjunction with the manufacture and distribution of high-quality

  goods in the categories identified above. True and correct copies of the Certificates of

  Registration for the TBL Marks are attached hereto as Composite Exhibit “3.”

           31.   The TBL Marks have been used in interstate commerce to identify and distinguish

  high-quality goods for an extended period of time and serve as symbols of TBL’s quality,

  reputation and goodwill.

           32.   Further, TBL and its related companies expend substantial resources developing,

  advertising and otherwise promoting the TBL Marks. The TBL Marks qualify as famous marks

  as that term is used in 15 U.S.C. §1125(c)(1).

           33.   TBL and its related companies extensively use, advertise, and promote the TBL

  Marks in the United States in connection with the sale of high-quality goods. As a result, the

  TBL Marks are among the most widely recognized trademarks in the United States, and the

  trademarks have achieved secondary meaning among consumers as identifiers of high-quality

  goods.

           34.   TBL has carefully monitored and policed the use of the TBL Marks and has never

  assigned or licensed the TBL Marks to any Defendant in this matter.

           35.   Genuine goods bearing and/or using the TBL Marks are widely legitimately

  advertised and promoted by TBL, its related companies, and unrelated third parties via the


                                                   13
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 14 of 31




  Internet. Visibility on the Internet, particularly via Internet search engines and social media

  platforms is important to TBL’s overall marketing and consumer education efforts. Thus, TBL

  expends significant monetary and other resources on Internet marketing and consumer education

  regarding its products, including SEO, SEM, and social media strategies. Those strategies allow

  TBL and its related companies to educate consumers fairly and legitimately about the value

  associated with the TBL Marks and the goods sold thereunder.

         Icebreaker’s Trademark Rights

         36.     Icebreaker is the owner of all rights in and to the following trademarks, which are

  valid and registered on the Principal Register of the United States Patent and Trademark Office

  (collectively, the “ICEBREAKER Marks”):

                         Registration
      Trademark                               Registration Date             Class(es)/Goods
                          Number
                                                                       IC 025 - Outerwear,
                                                                       namely, muffs; footwear,
    ICEBREAKER             4,565,860            July 15, 2014
                                                                       namely, insulated over
                                                                       boots
                                                                      IC 025 - Clothing, namely,
                                                                      pullovers, scarves, shirts,
                                                                      sweatshirts, singlets, socks,
                                                                      sweaters, tee shirts,
                                                                      underclothes, boxer shorts,
                                                                      jockey shorts, underpants,
    ICEBREAKER             4,893,214           January 26, 2016       underwear, thermal
                                                                      underwear, camisoles,
                                                                      shorts, pants, jackets, coats,
                                                                      jerseys, jumpers, vests,
                                                                      leggings, neck warmers, and
                                                                      gloves; headgear, namely,
                                                                      caps, hats, balaclavas

  The ICEBREAKER Marks are used in conjunction with the manufacture and distribution of

  high-quality goods in the categories identified above. True and correct copies of the Certificates

  of Registration for the ICEBREAKER Marks are attached hereto as Composite Exhibit “4.”



                                                 14
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 15 of 31




            37.   The ICEBREAKER Marks have been used in interstate commerce to identify and

  distinguish high-quality goods for an extended period of time and serve as symbols of

  Icebreaker’s quality, reputation, and goodwill.

            38.   Further, Icebreaker and its related companies expend substantial resources

  developing,     advertising   and    otherwise    promoting   the   ICEBREAKER      Marks.    The

  ICEBREAKER Marks qualify as famous marks as that term is used in 15 U.S.C. §1125(c)(1).

            39.   Icebreaker and its related companies extensively use, advertise, and promote the

  ICEBREAKER Marks in the United States in connection with the sale of high-quality goods. As

  a result, the ICEBREAKER Marks are among the most widely recognized trademarks in the

  United States, and the trademarks have achieved secondary meaning among consumers as

  identifiers of high-quality goods.

            40.   Icebreaker has carefully monitored and policed the use of the ICEBREAKER

  Marks and has never assigned or licensed the ICEBREAKER Marks to any Defendant in this

  matter.

            41.   Genuine goods bearing and/or using the ICEBREAKER Marks are widely

  legitimately advertised and promoted by Icebreaker, its related companies, and unrelated third

  parties via the Internet. Visibility on the Internet, particularly via Internet search engines and

  social media platforms, is important to Icebreaker’s overall marketing and consumer education

  efforts. Thus, Icebreaker expends significant monetary and other resources on Internet marketing

  and consumer education regarding its products, including SEO, SEM, and social media

  strategies. Those strategies allow Icebreaker and its related companies to educate consumers

  fairly and legitimately about the value associated with the ICEBREAKER Marks and the goods

  sold thereunder.




                                                    15
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 16 of 31




  Defendants’ Infringing Activities

         42.     Defendants are each promoting, advertising, distributing, selling, and/or offering

  for sale goods in interstate commerce bearing and/or using counterfeit and confusingly similar

  imitations of one or more of the TNF Marks, the VANS Marks, the TBL Marks, and/or the

  ICEBREAKER Marks (the “Counterfeit Goods”) through at least the commercial Internet

  websites operating under the Subject Domain Names. Specifically, Defendants are using the

  TNF Marks, VANS Marks, TBL Marks, and/or Icebreaker Marks (collectively, “Plaintiffs’

  Marks”) to initially attract online consumers and drive them to Defendants’ websites operating

  under the Subject Domain Names. Defendants are each using identical copies of one or more of

  the Plaintiffs’ Marks for different quality goods. Plaintiffs have used their respective Marks

  extensively and continuously before Defendants began offering counterfeit and confusingly

  similar imitations of Plaintiffs’ merchandise.

         43.     Defendants’ Counterfeit Goods are of a quality substantially different than that of

  Plaintiffs’ genuine goods. Defendants are actively using, promoting and otherwise advertising,

  distributing, selling and/or offering for sale substantial quantities of their Counterfeit Goods with

  the knowledge and intent that such goods will be mistaken for the genuine high-quality goods

  offered for sale by Plaintiffs despite Defendants’ knowledge that they are without authority to

  use Plaintiffs’ Marks. The net effect of Defendants’ actions is likely to cause confusion of

  consumers at the time of initial interest, sale, and in the post-sale setting, who will believe all of

  Defendants’ goods offered for sale in or through Defendants’ Internet websites are genuine

  goods originating from, associated with, and/or approved by Plaintiffs.

         44.     Defendants advertise their websites, including their Counterfeit Goods offered for

  sale, to the consuming public via at least the fully interactive, commercial Internet websites




                                                   16
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 17 of 31




  operating under the Subject Domain Names. In so doing, Defendants improperly and unlawfully

  use one or more of Plaintiffs’ Marks without Plaintiffs’ permission.

         45.     Most Defendants are concurrently employing and benefitting from substantially

  similar advertising and marketing strategies based, in large measure, upon an unauthorized use of

  counterfeits and infringements of Plaintiffs’ Marks. Specifically, Defendants are using

  counterfeits and infringements of one or more of Plaintiffs’ famous names and Plaintiffs’ Marks

  to make their website stores selling unauthorized goods appear more relevant and attractive to

  consumers searching for both Plaintiffs and non-Plaintiffs’ goods and information online. By

  their actions, Defendants are contributing to the creation and maintenance of an unlawful

  marketplace operating in parallel to the legitimate marketplace for Plaintiffs’ genuine goods.

  Defendants are causing individual, concurrent, and indivisible harm to Plaintiffs and the

  consuming public by (i) depriving Plaintiffs and other third parties of their right to fairly

  compete for space within search engine results and reducing the visibility of Plaintiffs’ genuine

  goods on the World Wide Web, (ii) causing an overall degradation of the value of the goodwill

  associated with Plaintiffs’ Marks, and (iii) increasing Plaintiffs’ overall cost to market their

  goods and educate consumers about their brands via the Internet.

         46.     Defendants are concurrently conducting and targeting their counterfeiting and

  infringing activities toward consumers and likely causing unified harm within this district and

  elsewhere throughout the United States. As a result, Defendants are defrauding Plaintiffs and the

  consuming public for Defendants’ own benefit.

         47.     At all times relevant hereto, Defendants have had full knowledge of Plaintiffs’

  respective ownership of Plaintiffs’ Marks, including their respective, exclusive rights to use and

  license such intellectual property and the goodwill associated therewith.




                                                  17
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 18 of 31




         48.     Defendants’ use of Plaintiffs’ Marks, including the promotion and advertisement,

  reproduction, distribution, sale and offering for sale of their Counterfeit Goods, is without

  Plaintiffs’ consent or authorization.

         49.     Defendants are engaging in the above-described illegal counterfeiting and

  infringing activities knowingly and intentionally or with reckless disregard or willful blindness to

  Plaintiffs’ rights for the purpose of trading on Plaintiffs’ respective goodwill and reputations. If

  Defendants’ intentional counterfeiting and infringing activities are not preliminarily and

  permanently enjoined by this Court, Plaintiffs and the consuming public will continue to be

  harmed.

         50.     Defendants’ above identified infringing activities are likely to cause confusion,

  deception, and mistake in the minds of consumers before, during, and after the time of purchase.

  Moreover, Defendants’ wrongful conduct is likely to create a false impression and deceive

  consumers, the public, and the trade into believing there is a connection or association between

  Plaintiffs’ respective genuine goods and Defendants’ Counterfeit Goods, which there is not.

         51.     Moreover, upon information and belief, at least Defendant Numbers 1, 49, 51, and

  54 have registered at least one of their respective Subject Domain Names using marks that are

  nearly identical and/or confusingly similar to at least one of Plaintiffs’ Marks (the

  “Cybersquatted Subject Domain Names”).

         52.     Defendant Numbers 1, 49, 51, and 54 do not have, nor have they ever had, the

  right or authority to use the Plaintiffs’ Marks. Further, the Plaintiffs’ Marks have never been

  assigned or licensed to be used on any of the websites, including the websites operating under

  the Cybersquatted Subject Domain Names.




                                                  18
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 19 of 31




         53.     Defendant Numbers 1, 49, 51, and 54 have provided false and/or misleading

  contact information when applying for the registration of the Cybersquatted Subject Domain

  Names or have intentionally failed to maintain accurate contact information with respect to the

  registration of the Cybersquatted Subject Domain Names.

         54.     Defendant Numbers 1, 49, 51, and 54 have never used the Cybersquatted Subject

  Domain Names in connection with a bona fide offering of goods or services.

         55.     Defendant Numbers 1, 49, 51, and 54 have not made any bona fide non-

  commercial or fair use of Plaintiffs’ Marks on a website accessible under the Cybersquatted

  Subject Domain Names.

         56.     Defendant Numbers 1, 49, 51, and 54 have intentionally incorporated at least one

  of Plaintiffs’ respective Marks in their Cybersquatted Subject Domain Names to divert

  consumers looking for Plaintiffs’ respective Internet websites to their own websites for

  commercial gain.

         57.     Given the visibility of Defendants’ various websites and the similarity of their

  concurrent actions, it is clear Defendants are either affiliated, or at a minimum, cannot help but

  know of each other’s existence and the unified harm likely to be caused to Plaintiffs and the

  overall consumer market in which they operate because of Defendants’ concurrent actions.

         58.     Although some Defendants may be physically acting independently, they may

  properly be deemed to be acting in concert because the combined force of their actions serves to

  multiply the harm caused to Plaintiffs.

         59.     Defendants’ payment and financial accounts, including but not limited to those

  specifically set forth on Schedule “A,” are being used by Defendants to accept, receive, and

  deposit profits from Defendants’ trademark counterfeiting and infringing, and unfairly




                                                 19
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 20 of 31




  competitive activities connected to their Subject Domain Names and any other alias websites or

  domain names being used and/or controlled by them.

          60.     Further, Defendants, upon information and belief, are likely to transfer or secret

          their assets to avoid payment of any monetary judgment awarded to Plaintiffs.

          61.     Plaintiffs have no adequate remedy at law.

          62.     Plaintiffs are suffering irreparable injury because of Defendants’ unauthorized

  and wrongful use of Plaintiffs’ Marks. If Defendants’ counterfeiting and infringing and unfairly

  competitive activities are not preliminarily and permanently enjoined by this Court, Plaintiffs

  and the consuming public will continue to be harmed while Defendants wrongfully earn a

  substantial profit.

          63.     The harm sustained by Plaintiffs have been directly and proximately caused by

  Defendants’ wrongful reproduction, use, advertisement, promotion, offers to sell, and sale of

  their Counterfeit Goods.

           COUNT I - TRADEMARK COUNTERFEITING AND INFRINGEMENT
             PURSUANT TO § 32 OF THE LANHAM ACT (15 U.S.C. § 1114)

          64.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 63 above.

          65.     This is an action for trademark counterfeiting and infringement against

  Defendants based on their use of counterfeit and confusingly similar imitations of Plaintiffs’

  Marks in commerce in connection with the promotion, advertisement, distribution, offering for

  sale, and sale of the Counterfeit Goods.

          66.     Specifically, Defendants are promoting and otherwise advertising, selling,

  offering for sale, and distributing goods bearing and/or using counterfeits and/or infringements

  of one or more of Plaintiffs’ Marks. Defendants are continuously infringing and inducing others



                                                  20
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 21 of 31




  to infringe Plaintiffs’ Marks by using one or more of them to advertise, promote, offer to sell,

  and/or sell counterfeit and infringing goods bearing and/or using Plaintiffs’ Marks.

          67.     Defendants’ concurrent counterfeiting and infringing activities are likely to cause

  and are causing confusion, mistake, and deception among members of the trade and the general

  consuming public as to the origin and quality of Defendants’ Counterfeit Goods.

          68.     Defendants’ unlawful actions have caused and are continuing to cause

  unquantifiable and irreparable harm to Plaintiffs and are unjustly enriching Defendants with

  profits at Plaintiffs’ expense.

          69.     Defendants’ above-described unlawful actions constitute counterfeiting and

  infringement of Plaintiffs’ Marks in violation of Plaintiffs’ respective rights under § 32 of the

  Lanham Act, 15 U.S.C. § 1114.

          70.     Plaintiffs have each suffered and will continue to suffer irreparable injury while

  Defendants are earning a substantial profit due to Defendants’ above-described activities if

  Defendants are not preliminarily and permanently enjoined.

                   COUNT II - FALSE DESIGNATION OF ORIGIN
             PURSUANT TO § 43(a) OF THE LANHAM ACT (15 U.S.C. § 1125(a))

          71.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 63 above.

          72.     Defendants’ Counterfeit Goods bearing, using, offered for sale, and sold using

  copies of one or more of Plaintiffs’ Marks have been widely advertised and offered for sale

  throughout the United States via the Internet.

          73.     Defendants’ Counterfeit Goods bearing, offered for sale, and sold using copies of

  at least one or more of Plaintiffs’ Marks are virtually identical in appearance to Plaintiffs’

  respective, genuine goods. However, Defendants’ Counterfeit Goods are different in quality.



                                                   21
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 22 of 31




  Accordingly, Defendants’ activities are likely to cause confusion in the trade and among

  consumers as to at least the origin or sponsorship of their Counterfeit Goods.

          74.     Defendants have used in connection with their advertisement, offers for sale, and

  sale of their Counterfeit Goods, false designations of origin and false descriptions and

  representations, including words or other symbols and designs, which tend to falsely describe or

  represent such goods and have caused such goods to enter commerce in the United States with

  full knowledge of the falsity of such designations of origin and such descriptions and

  representations, all to Plaintiffs’ detriment.

          75.     Defendants have each authorized infringing uses of one or more of Plaintiffs’

  Marks in Defendants’ advertisement and promotion of their counterfeit and infringing branded

  goods. Some Defendants have also misrepresented to members of the consuming public that the

  Counterfeit Goods being advertised and sold by them are genuine, non-infringing goods.

          76.     Additionally, Defendants are simultaneously using counterfeits and infringements

  of one or more of Plaintiffs’ Marks to unfairly compete with Plaintiffs and others for space

  within organic and paid search engine and social media results. Defendants are thereby jointly (i)

  depriving Plaintiffs of valuable marketing and educational space online which would otherwise

  be available to Plaintiffs and (ii) reducing the visibility of Plaintiffs’ genuine goods on the World

  Wide Web and across social media platforms.

          77.     Defendants’ above-described actions are in violation of Section 43(a) of the

  Lanham Act, 15 U.S.C. §1125(a).

          78.     Plaintiffs have no adequate remedy at law and have each sustained both individual

  and indivisible injury caused by Defendants’ concurrent conduct. Absent an entry of an

  injunction by this Court, each Plaintiff will continue to suffer irreparable injury to their




                                                   22
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 23 of 31




  respective goodwill and business reputation, while Defendants are earning a substantial profit.

                  COUNT III - CLAIM FOR RELIEF FOR CYBERSQUATTING
                PURSUANT TO §43(d) OF THE LANHAM ACT (15 U.S.C. §1125(d))
                      (Against Defendant Numbers 1, 49, 51, and 54, only)

          79.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 63 above.

          80.     At all times relevant hereto, Plaintiffs have been and still are the owners of the

  rights, title, and interest in and to their respective trademarks.

          81.     Defendant Numbers 1, 49, 51, and 54 have acted with the bad faith intent to profit

  from the TNF Marks, TBL Marks, and/or ICEBREAKER Marks and the goodwill associated

  with the Marks by registering and using the Cybersquatted Subject Domain Names.

          82.     The TNF Marks, TBL Marks, and ICEBREAKER Marks were already distinctive

  and famous at the time Defendant Numbers 1, 49, 51, and 54 registered the Cybersquatted

  Subject Domain Names.

          83.     Defendant Numbers 1, 49, 51, and 54 have no intellectual property rights in or to

  the TNF Marks, TBL Marks, and ICEBREAKER Marks. The Cybersquatted Subject Domain

  Names are identical to, confusingly similar to, or dilutive of at least one of the TNF Marks, TBL

  Marks, or ICEBREAKER Marks.

          84.     Defendant Numbers 1, 49, 51, and 54’s conduct is done with knowledge and

  constitutes a willful violation of Plaintiffs’ rights in their respective Marks. At a minimum, the

  conduct of these Defendants constitutes reckless disregard for and willful blindness to Plaintiffs’

  respective rights.

          85.     Defendant Numbers 1, 49, 51, and 54’s actions constitute cybersquatting in

  violation of §43(d) of the Lanham Act, 15 U.S.C. § 1125(d).




                                                     23
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 24 of 31




         86.     Plaintiffs have no adequate remedy at law and have suffered and will continue to

  suffer irreparable injury while Defendants Numbers 1, 49, 51, and 54 profit due to the above-

  described activities if those Defendants are not preliminarily and permanently enjoined.

                       COUNT IV - COMMON LAW UNFAIR COMPETITION

         87.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 63 above.

         88.     This is an action against Defendants based on their promotion, advertisement,

  distribution, sale, and/or offering for sale of goods bearing and/or using marks that are virtually

  identical to one or more of Plaintiffs’ Marks in violation of Florida’s common law of unfair

  competition.

         89.     Specifically, Defendants are promoting and otherwise advertising, selling,

  offering for sale, and distributing goods bearing and/or using counterfeits and infringements of

  one or more of Plaintiffs’ Marks. Defendants are also each using counterfeits and infringements

  of one or more of Plaintiffs’ Marks to unfairly compete with Plaintiffs and others for (i) space in

  search engine and social media results across an array of search terms and (ii) visibility on the

  World Wide Web.

         90.     Defendants’ infringing activities are likely to cause and are causing confusion,

  mistake, and deception among consumers as to the origin and quality of Defendants’ websites as

  a whole and all products sold therein by their use of Plaintiffs’ Marks.

         91.     Plaintiffs have no adequate remedy at law and are suffering irreparable injury

  because of Defendants’ actions, while Defendants are earning a substantial profit.




                                                  24
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 25 of 31




                COUNT V - COMMON LAW TRADEMARK INFRINGEMENT

         92.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 63 above.

         93.     This is an action for common law trademark infringement against Defendants

  based on their promotion, advertisement, offering for sale, and sale of their Counterfeit Goods

  bearing and/or using one or more of Plaintiffs’ Marks. Plaintiffs are the owners of all common

  law rights in and to Plaintiffs’ Marks.

         94.     Specifically, each Defendant is promoting and otherwise advertising, distributing,

  offering for sale, and selling goods bearing and/or using infringements of one or more of

  Plaintiffs’ Marks.

         95.     Defendants’ infringing activities are likely to cause and are causing confusion,

  mistake, and deception among consumers as to the origin and quality of Defendants’ Counterfeit

  Goods bearing and/or using Plaintiffs’ Marks.

         96.     Plaintiffs have no adequate remedy at law and are suffering irreparable injury

  because of Defendants’ actions, while Defendants are earning a substantial profit.

                                      PRAYER FOR RELIEF

         97.     WHEREFORE, Plaintiffs demand judgment on all Counts of this Complaint and

  an award of equitable relief and monetary relief against Defendants as follows:

                 a.      Entry of temporary, preliminary, and permanent injunctions pursuant to 15

  U.S.C. § 1116, 28 U.S.C. § 1651(a), The All Writs Act, and Federal Rule of Civil Procedure 65

  enjoining Defendants, their agents, representatives, servants, employees, and all those acting in

  concert or participation therewith, from manufacturing or causing to be manufactured, importing,

  advertising or promoting, distributing, selling or offering to sell their Counterfeit Goods; from




                                                  25
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 26 of 31




  infringing, counterfeiting, or diluting Plaintiffs’ Marks; from using Plaintiffs’ Marks, or any

  mark or design similar thereto, in connection with the sale of any unauthorized goods; from

  using any logo, trade name or trademark or design that may be calculated to falsely advertise the

  services or goods of Defendants as being sponsored by, authorized by, endorsed by, or in any

  way associated with Plaintiffs; from falsely representing themselves as being connected with

  Plaintiffs, through sponsorship or association, or engaging in any act that is likely to falsely

  cause members of the trade and/or of the purchasing public to believe any goods or services of

  Defendants are in any way endorsed by, approved by, and/or associated with Plaintiffs; from

  using any reproduction, counterfeit, infringement, copy, or colorable imitation of Plaintiffs’

  Marks in connection with the publicity, promotion, sale, or advertising of any goods sold by

  Defendants; from affixing, applying, annexing or using in connection with the sale of any goods,

  a false description or representation, including words or other symbols tending to falsely describe

  or represent Defendants’ goods as being those of Plaintiffs, or in any way endorsed by Plaintiffs

  and from offering such goods in commerce; from engaging in search engine optimization

  strategies using colorable imitations of Plaintiffs’ respective name or trademarks; and from

  otherwise unfairly competing with Plaintiffs.

                 b.      Entry of a temporary, preliminary, and permanent injunctions pursuant to

  28 U.S.C. § 1651(a), The All Writs Act, and the Court’s inherent authority, enjoining Defendants

  and all third parties with actual notice of an injunction issued by the Court from participating in,

  including providing financial services, technical services or other support to, Defendants in

  connection with the sale and distribution of non-genuine goods bearing and/or using counterfeits

  and/or infringements of Plaintiffs’ Marks.




                                                  26
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 27 of 31




                 c.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and

  the Court’s inherent authority that, upon Plaintiffs’ request, those acting in concert or

  participation as service providers to Defendants, who have notice of the injunction, cease

  hosting, facilitating access to, or providing any supporting service to any and all domain names,

  including but not limited to the Subject Domain Names, and websites through which Defendants

  engage in the promotion, offering for sale and/or sale of goods using counterfeits and/or

  infringements of Plaintiffs’ Marks.

                 d.      Entry of an order pursuant to 28 U.S.C §1651(a), The All Writs Act, and

  the Court’s inherent authority, authorizing Plaintiffs to serve the injunction on any e-mail service

  provider with a request that the service provider permanently suspend the e-mail addresses that

  are or have been used by Defendants in connection with Defendants’ promotion, offering for

  sale, and/or sale of goods using and/or bearing counterfeits and/or infringements of Plaintiffs’

  Marks.

                 e.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and

  the Court’s inherent authority authorizing Plaintiffs to serve the injunction on the domain name

  registrar(s) and/or the privacy protection service(s) for the Subject Domain Names to disclose to

  Plaintiffs the true identities and contact information for the registrant of the Subject Domain

  Name.

                 f.      Entry of an order pursuant to 15 U.S.C. § 1116, 28 U.S.C. §1651(a), The

  All Writs Act, and the Court’s inherent authority, that upon Plaintiffs’ request, Defendants and

  the top level domain (TLD) Registry for the Subject Domain Names, and any other domains used

  by Defendants, or their administrators, including backend registry operators or administrators,

  place the Subject Domain Names on Registry Hold status for the remainder of the registration




                                                  27
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 28 of 31




  period for any such domain names, thus removing them from the TLD zone files which link the

  Subject Domain Names, and any other domain names being used and/or controlled by

  Defendants to engage in the business of marketing, offering to sell, and/or selling goods bearing

  counterfeits and infringements of Plaintiffs’ Marks, to the IP addresses where the associated

  websites are hosted.

                 g.        Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act and

  the Court’s inherent authority, canceling for the life of the current registration or, at Plaintiffs’

  election, transferring the Subject Domain Names and any other domain names used by

  Defendants to engage in their counterfeiting of Plaintiffs’ Marks at issue to Plaintiffs’ control so

  they may no longer be used for unlawful purposes.

                  h.       Entry of an order pursuant to 15 U.S.C. § 1116 and the Court’s inherent

  authority, requiring Defendants, their agent(s) or assign(s), to assign all rights, title, and interest,

  to their Subject Domain Name(s) and any other domain names used by Defendants to Plaintiffs

  and, if within five (5) days of entry of such order Defendants fail to make such an assignment,

  the Court order the act to be done by another person appointed by the Court at Defendants’

  expense, such as the Clerk of Court, pursuant to Federal Rule of Civil Procedure 70(a).

                  i.       Entry of an order pursuant to 15 U.S.C. § 1116 and the Court’s inherent

  authority, requiring Defendants, their agent(s) or assign(s), to instruct in writing, all search

  engines to permanently delist or deindex the Subject Domain Name(s) and any other domain

  names used by Defendants and, if within five (5) days of entry of such order Defendants fail to

  make such a written instruction, the Court order the act to be done by another person appointed

  by the Court at Defendants’ expense, such as the Clerk of Court, pursuant to Federal Rule of

  Civil Procedure 70(a).




                                                    28
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 29 of 31




                 j.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and

  the Court’s inherent authority that, upon Plaintiffs’ request, any Internet marketplace website

  operators, administrators, registrars and/or top level domain (TLD) Registry for the Subject

  Domain Names who are provided with notice of an injunction issued by the Court, identify any

  e-mail address known to be associated with Defendants’ respective Subject Domain Names.

                 k.      Entry of an order requiring Defendants to account to and pay Plaintiffs for

  all profits earned from Defendants’ trademark counterfeiting and infringing and unfairly

  competitive activities and that the profit award to Plaintiffs be trebled, as provided for under 15

  U.S.C. §1117, or that Plaintiffs be awarded statutory damages from each Defendant in the

  amount of two million dollars ($2,000,000.00) per each counterfeit trademark used and product

  type offered for sale or sold, as provided by 15 U.S.C. §1117(c)(2) of the Lanham Act.

                 l.      Entry of an order requiring Defendant Numbers 1, 49, 51, and 54 to

  account to and pay Plaintiffs for all profits resulting from those Defendants’ cybersquatting

  activities and that the profit award to Plaintiffs be trebled, as provided for under 15 U.S.C. §

  1117, or that Plaintiffs be awarded statutory damages from Defendant Numbers 1, 49, 51, and 54

  in the amount of one hundred thousand dollars ($100,000.00) per cybersquatted name used as

  provided by 15 U.S.C. § 1117(d) of the Lanham Act.

                 m.      Entry of an award pursuant to 15 U.S.C. § 1117 (a) and (b) of Plaintiffs’

  costs and reasonable attorneys’ fees and investigative fees associated with bringing this action.

                 n.      Entry of an order pursuant to 15 U.S.C. § 1116, 28 U.S.C. § 1651(a), The

  All Writs Act, Federal Rule of Civil Procedure 65, and the Court’s inherent authority that, upon

  Plaintiffs’ request, Defendants and any financial institutions, payment processors, banks, escrow

  services, money transmitters, or marketplace platforms, and their related companies and




                                                  29
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 30 of 31




  affiliates, identify and restrain all funds, up to and including the total amount of judgment, in all

  financial accounts and/or sub-accounts used in connection with the Subject Domain Names or

  other alias names, domain names and/or websites used by Defendants presently or in the future,

  as well as any other related accounts of the same customer(s) and any other accounts which

  transfer funds into the same financial institution account(s), and remain restrained until such

  funds are surrendered to Plaintiffs in partial satisfaction of the monetary judgment entered

  herein.

                 o.      Entry of an award of pre-judgment interest on the judgment amount.

                 p.      Entry of an order requiring Defendants, at Plaintiffs’ request, to pay the

  cost necessary to correct any erroneous impression the consuming public may have received or

  derived concerning the nature, characteristics, or qualities of Defendants’ products, including

  without limitation, the placement of corrective advertising and providing written notice to the

  public.

                 q.      Entry of an order for any further relief as the Court may deem just and

  proper.

  DATED: November 16, 2022.             Respectfully submitted,

                                        STEPHEN M. GAFFIGAN, P.A.

                                        By: Stephen M. Gaffigan
                                        Stephen M. Gaffigan (Fla. Bar No. 025844)
                                        Virgilio Gigante (Fla. Bar No. 082635)
                                        T. Raquel Wiborg-Rodriguez (Fla. Bar No. 103372)
                                        401 East Las Olas Blvd., #130-453
                                        Ft. Lauderdale, Florida 33301
                                        Telephone: (954) 767-4819
                                        E-mail: stephen@smgpa.net
                                        E-mail: leo@smgpa.net
                                        E-mail: raquel@smgpa.net
                                        Attorneys for PLAINTIFFS




                                                   30
Case 0:22-cv-62131-RKA Document 1 Entered on FLSD Docket 11/16/2022 Page 31 of 31




                                       SCHEDULE “A”



    [This page is the subject of Plaintiffs’ Motion to File Under Seal. As such, this page has
                        been redacted in accordance with L.R. 5.4(b)(1)]




                                               31
